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                                                            The Honorable James L. Robart
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 6                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                  AT SEATTLE
 8
     JOHNNY B. DELASHAW, JR.,
 9                                             CASE NO. 2:18-cv-00537-JLR
                            Plaintiff,
10                                             THE SEATTLE TIMES’ SECOND
                v.                             MOTION FOR SUMMARY JUDGMENT
11
                                               NOTED ON MOTION CALENDAR:
     SEATTLE TIMES COMPANY, and                July 31, 2020
12
     CHARLES COBBS,
13
                            Defendants.
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     SEATTLE TIMES SECOND MOTION FOR SUMMARY
     JUDGMENT [2:18-cv-00537-JLR]
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 1                                                I.    INTRODUCTION
 2            The Seattle Times moves for summary judgment on the remaining claim asserted by

 3   Dr. Johnny Delashaw regarding the newspaper’s reporting in a February 2017 article about the

 4   financial incentive of doctors at Swedish Neuroscience Institute (“SNI”) to pursue a high patient

 5   volume.1 He must, but cannot, make a prima facie case that the description of the incentive

 6   contracts caused him damage, that the remaining statements are not substantially true, and that the

 7   Times acted with fault. For each of these reasons, the remaining claims against the Times should

 8   be dismissed.

 9                                                     II. ARGUMENT
10   A.       Summary Judgment Standard
11            “[S]ummary judgment plays a particularly important role” in defamation cases because

12   “[s]erious problems regarding the exercise of free speech and free press guaranteed by the First

13   Amendment are raised if unwarranted lawsuits are allowed to proceed to trial. The chilling effect

14   of the pendency of such litigation can itself be sufficient to curtail the exercise of these

15   freedoms.”2

16            “[T]o avoid summary judgment on a defamation claim, a plaintiff must make a prima facie

17   showing of facts that would raise a genuine issue of material fact as to each of the following

18   elements:” (1) “that the communication proximately caused damages,” (2) that the statements

19   were false, and (3) that the Seattle Times acted with fault.3 Because Delashaw cannot make out a

20   prima facie case as to all of these independent elements, the lawsuit against the Times should be

21   dismissed.

22

23

24     1
          Order on Defs.’ Mots. for Summ. J., Dkt #160 (“SJ Order”), at 77:12-15. The Court provisionally filed the SJ
     Order under seal. Swedish has since filed in the open court file the portions of the Order that it agrees are not subject
25   to sealing. Dkt #180-1. The Times in this motion abides by the pending redactions requested by Swedish.
        2
          Mohr v. Grant, 153 Wn.2d 812, 821, 108 P.3d 768 (2005) (quotation marks and citations omitted).
26      3
          Jinni Tech, Ltd. v. Red.com, Inc., No. C17-0217JLR, 2020 WL 1932696, *9 (W.D. Wash. Apr. 20, 2020).

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     B.      The Financial Incentive Statements Did Not Cause Delashaw Any Damage Distinct
 1           From the Rest of the Nondefamatory Articles.
 2           The goal of damages in a defamation case “is to compensate the plaintiff for harm caused

 3   by the defendant’s wrongful conduct.”4 Hence, “a defamation plaintiff can recover damages only

 4   if he or she proves harm factually caused by the defendant’s wrongful conduct.”5 A plaintiff may

 5   not recover damages suffered as a result of the publication of nondefamatory statements.

 6                The question is whether the false statement has resulted in damage which
                  is distinct from that caused by true negative statements also contained in
 7                the same report. If it has not, then whatever damage the plaintiff has
                  suffered does not amount to defamation because it is not solely
 8                attributable to the falsehood. In that case, the plaintiff has not made a
                  prima facie case.6
 9
     In other words, “when a defamation defendant’s statement is partly true in substance and partly
10
     false in substance, the defamation plaintiff may not recover for damage that would have occurred
11
     even without the false part.”7
12
             Even assuming that the statements about the Swedish contracts are false – an assumption
13
     made only for purposes of the causation analysis – Delashaw cannot point to any evidence that
14
     these assumed false statements caused him damage distinct from the damage caused him by the
15
     rest of the nondefamatory articles.8 To the contrary, he has been unabashed throughout his career
16
     that his tremendous surgical volume warrants top dollars. For example, he told the University of
17
     California at Irvine (“UCI”) neurosurgery faculty “many times” that he “want[ed] them to be rich.
18
     But in order to be rich, you have to work and you have to do clinical volume ….”9 Upon arriving
19
     at UCI, he “eclipsed” the senior neurosurgeon’s productivity “almost instantaneously.”10 At UCI,
20

21

22
       4
23       Schmalenberg v. Tacoma News, Inc., 87 Wn. App. 579, 602, 943 P.2d 350 (1997).
       5
         Id.
       6
         Herron v. KING Broad. Co., 112 Wn.2d 762, 771-72, 776 P.2d 98 (1989), modified on non-relevant grounds in
24
     Richard v. Thompson, 130 Wn.2d 368, 922 P.2d 1343 (1996).
       7
         Schmalenberg, 87 Wn. App. at 598 (affirming summary judgment).
25     8
         SJ Order at 32-55 (rejecting all Delashaw’s other claims against the Times).
       9
         7/8/20 Goldman SJ Decl., Ex. 1 at 13:13-16.
26     10
          Id. at 31:10-13.

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 1   he was paid $1.2 million annually and was “required to do 10,000 work rvus per year ….”11 Then,

 2   when he emailed Providence executives with his compensation demands before being hired, he

 3   explained: “I can bring serious volume to SNI it has not seen.”12 He promised he would make the

 4   nonprofit hospital “more profitable for everyone than anywhere else on the planet.”13

 5            Moreover, his employment placement expert in Delashaw v. Roberts, his other defamation

 6   lawsuit before this Court (“Roberts”),14 opined that when Delashaw resigned from Swedish –

 7   shortly after publication of the articles – he could have gotten a job at numerous hospitals

 8   throughout the country. It is her opinion that it was only after the Department of Health (“DOH”)

 9   later suspended Delashaw’s license for fear of risk to patients that he became unemployable.15

10            Because there is no evidence of causation, summary judgment should issue and the Court

11   need proceed no further.16

12   C.       The Statement that the Swedish Employment Contracts Incentivized High Patient
              Volume Is Substantially True.
13
              While we assumed above that the remaining challenged statements are not true for
14
     purposes of the causation element, the remaining claim also fails because these statements are
15
     substantially true.17 The “gist of the story, the portion that carries the sting, is true.”18
16
       11
           Id., Ex. 2 at JDEL_008709. A “wRVU” or “RVU” is a relative value unit, a numeric factor assigned to a medical
17   service based on the skill and time required to undertake such a procedure. See https://medical-
     dictionary.thefreedictionary.com/relative+value+unit (last visited 7/6/20).
18      12
           Id., Ex. 2 at JDEL_008709.
        13
           Id. at JDEL_008708.
19      14
           Delashaw is suing officials from MQAC (the DOH Medical Quality Assurance Commission) in Delashaw v.
     Roberts, Case No. 2:18-cv-01850.
        15
20         7/8/20 Wion Decl., Ex. 5 at 3; id., Ex. 6 at 55:3-11.
        16
           “Delashaw’s tortious interference claim rises and falls with his defamation claims” as he “bases” that “claim
21   entirely on the Times’ allegedly defamatory publications.” SJ Order at 55:3-5. So, what remains of his tortious
     interference claim also should be dismissed for each of the reasons set forth in this motion.
22
        17
           In ruling on the Times’ first summary judgment motion, the Court noted deficiencies and questions regarding the
     presentation of the financial incentive claim. Id. at 35:20-36:16 & n.8. In light of the Court’s ruling and based on the
23   Court’s subsequent authorization of the Times’ depositions of more SNI physicians, Minute Entry, Dkt # 152, the
     Times conducted additional discovery regarding the financial incentive claim. Given the First Amendment
     implications of allowing baseless defamation claims to proceed to trial, Mohr, 153 Wn.2d at 821, the Times addresses
24
     here the issues raised by the Court as to the financial incentive claim and the undisputed evidence produced in
     additional discovery. See also Gsouri v. Gentry, No. 3:18-cv-5472 BHS-JRC, 2019 WL 4889790, *2 (W.D. Wash.
25   Aug. 8, 2019) (“The purpose of summary judgment is to avoid unnecessary trials”) (citing Zweigh v. Hearst Corp.,
     521 F.2d 1129, 1136 (9th Cir. 1975)).
26      18
           SJ Order at 33:3-10 (quotation marks & citation omitted).

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 1          The Times reported five statements regarding the SNI surgeons’ incentive contracts, only

 2   one of which mentioned Delashaw.

 3               The doctors in the neuroscience unit are incentivized to pursue a high-volume
                 approach with contracts that compensate them for large patient numbers and
 4               complicated surgical techniques….
 5               Despite the concerns aired about Dr. Delashaw, the hospital’s administrators
                 moved ahead with a plan to revamp surgical contracts in a way that would
 6               incentivize the high-volume approach in which Delashaw excelled….
 7               The revised contracts at Cherry Hill’s SNI program ended the pooling
                 system, according to records and interviews. Surgeons would be paid almost
 8               entirely on their production, as measured by Relative Value Units, or
                 RVUs….
 9
                 Surgeons with production-based contracts can increase their revenue by
10               adding more stages to a surgery. That’s particularly true when it comes to
                 spine cases….
11
                 All those RVUs equate to more reimbursements for the hospital and, under
12               the Swedish contracts, more money for the doctors.19
13   As the Court has noted, the Times article “never explicitly states that Dr. Delashaw had a contract

14   that incentivized him to pursue a high-volume patient load.”20 Rather, the article reported on the

15   change in which contracts that were already incentivizing production were changed to do so at an

16   even greater degree for “[t]he doctors in the neuroscience unit.”21 The statements are true as to the

17   SNI surgeons, all of whom had contracts that increased productivity incentives, including

18   Delashaw.

19          When SNI first opened, it eschewed a straight productivity model. Co-founder Dr. Marc

20   Mayberg testified that he:

21                [S]urveyed a number of similar institutes around the country with multiple
                  surgeons, and all … agreed that a 100 percent RVU compensation formula
22                was destructive to collegiality. It really pitted the surgeons against each
                  other as competitors. In addition, there are substantial differences in
23                compensation for different kinds of procedures. So people who do a
                  procedure like pediatric neurosurgery or deep brain stimulation don’t get
24                very many RVUs for doing that even though they’re working hard, they’re
25    19
         7/8/20 Wion Decl., Ex. 14 at ST_0041496, 0041501, 0041507, 0041508.
      20
         SJ Order at 36 n.8.
26    21
         7/8/20 Wion Decl., Ex. 14 at ST_0041496.

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                   doing as many cases, they’re working as many hours as somebody who
 1                 does, for example, spine surgery. So this was an attempt to really narrow
                   the – the range of salaries so they were closer together, but the number
 2                 that most of the other groups had come up with was 20 percent. So …
                   everybody … each quarter took their reimbursement and put 20 percent of
 3                 it into the pool. That pool then was distributed equally among … six or
                   seven surgeons – so that in essence the people contributing 20 percent got
 4                 back some of it in that distribution. And it varied how much they put in
                   and how much they got out.22
 5
              In 2014, after Delashaw arrived, SNI abandoned its prior compensation model and adopted
 6
     greater productivity incentives for its surgeons.23 “[T]he more RVUs you did, the more money
 7
     you [made].”24 One of SNI’s and Delashaw’s goals was high surgical volume.25 Delashaw, by his
 8
     own description, “was a principal player in negotiating the wRVU rate higher giving potentially
 9
     each of us a raise. Pooling is over ….”26 Another goal was to enrich the hospital and the SNI
10
     surgeons. As Delashaw explained, “I am a huge profit margin for the hospital ….”27
11
              Rachelle Daugherty, who was responsible for managing the employment contracts of the
12
     SNI physicians, attested that as of 2014, they were compensated for clinical care “
13

14

15

16

17
                                                               29
                                                                    The third-party fair market value analysis
18
     obtained by Swedish to support this change in PEAs, applied to the 11 SNI surgeons – including
19

20

21     22
          7/8/20 Goldman Decl., Ex. 3 at 29:17-30:15.
22
       23
          Id., Ex. 4 at JDEL_007572                                                  ”); id., Ex. 3 at 29:8-12 (the SNI pool
     sharing formulated was stopped “in April or May of 2014 and then the compensation went to 100 percent dollar per
23   RVU”).
       24
          Id., Ex. 3 at 103:13-17.
       25
          Id., Ex. 5 at 48:4-17; id., Ex. 6 at 46:13-25 (Delashaw stated he wanted SNI to be “a large internationally
24
     respected high volume [quaternary] referral center for neurosurgery”).
       26
          Id., Ex. 7 at JDEL_120712.
25     27
          Id., Ex. 8 at SWE-E_015842.
       28
          7/8/20 Daugherty Decl. ¶¶ 1, 3.
26     29
          Id. ¶ 3; see also id., Ex. A at SWE_005825.

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 1   Delashaw – and confirmed that they “

 2                                                               .”30

 3           Hence, on March 1, 2014, Delashaw entered into a new PEA with Swedish in which his

 4   compensation was directly “                                    n”31 at a rate of                  .32 He

 5   testified that this compensation plan “was about how much work you did. The more you did the

 6   more you got paid.”33 As the Court has ruled, “Delashaw was, in fact, under contracts that

 7   incentivized him to pursue a high-volume patient load from October 2013 to April 2015, which is

 8   consistent with the claims in the Second Times Article.”34

 9           As with the Delashaw PEA, on March 1, 2014, Dr. Douglas Backous’s PEA was amended.

10   The “                            ” provision was “                                                  ” the

11   following provision: “

12

13                                                   35
                                                          Backous testified: “

14             ”36 That meant that “the only way to make compensation goals [was] to see more

15   patients or deliver more care.”37 Hence, there was a financial incentive to increase surgical

16   volume under this pure RVU model.38 He explained: “The RVU model was moving people in a

17   straight production mode of thinking which would drive significant volume which was a positive,

18   but would generate internal competition and breakdown of the morale of the group.”39

19           The other SNI PEAs were the same. For example, in November 2014, Dr. Jens Chapman
                                                                   40
20   signed a two-year contract that paid him                           Dr. Stephen Monteith also signed an

21    30
         Id., Ex. D at SWE_0005842 and 005845.
      31
22       SJ Order at 23:4-7 (redaction requested by Swedish, Dkt #180-1).
      32
         3/6/20 Goldman Decl., Dkt #110 (sealed), Ex. 11 at JDEL_036246.
      33
23       SJ Order at 23:11-14 (quotation marks & citation omitted).
      34
         Id. at 34:20-35:2.
      35
         7/8/20 Goldman Decl., Ex. 9 at SWE-E_026079-80.
24    36
         Id., Ex. 5 at 112:20-113:13.
      37
         Id. at 17:7-25.
25    38
         Id. at 18:1-5.
      39
         Id. at 29:13-21.
26    40
         Id., Ex. 10 at SWE-E_004875.

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 1   RVU-based contract and the more he worked, the more he could potentially earn.41 By seeing

 2   “more patients in the hospital or in the office or by performing more procedures,” he could

 3   increase his compensation.42 Mayberg also signed an RVU-based contract which continued

 4   through 2016.43 Dr. Zachary Litvack started at SNI in April 2016 and his PEA provided him a

 5                                                                              .44

 6           In sum, the Times accurately reported that SNI “ended the pooling system” and “moved

 7   ahead with a plan to revamp surgical contracts in a way that would incentivize the high-volume

 8   approach in which Delashaw excelled.”45

 9           Daugherty, the SNI contracts manager, attests that

10

11                  The article’s description of the change in contracts for “[t]he doctors in the

12   neuroscience unit” 47 is substantially true irrespective of the further changes to Delashaw’s 2015

13   and 2016 PEAs.

14           Although Delashaw’s 2015-2016 PEAs were based on an annual salary, they too

15   incentivized high productivity. Each included a provision that “explicitly state[d] that Dr.

16   Delashaw’s compensation will be adjusted if he does not meet certain production thresholds.”48

17   Daugherty confirms that Swedish read its 2015-2016 Delashaw PEAs in the same manner: “

18

19

20                                              9
                                                    “          Delashaw’s compensation in these two

21     41
          Id., Ex. 11 at 54:9-55:3.
       42
22        Id. at 56:16-19.
       43
          Id., Ex. 3 at 103:18-21.
23
       44
          Id., Ex. 6 at 105:20-108:1. Delashaw’s neurosurgery expert in the Roberts case confirmed that the SNI
     compensation system incentivized surgeons to do more work because they earned more money doing so. 7/8/20 Wion
     Decl., Ex. 17 at 47:7-14.
24     45
          7/8/20 Wion Decl., Ex. 14 at ST_0041501.
       46
          7/8/20 Daugherty Decl. ¶ 3.
25     47
          7/8/20 Wion Decl., Ex. 14 at ST_0041496.
       48
          SJ Order at 35:8-10 (citation omitted).
26     49
          7/8/20 Daugherty Decl. ¶ 7.

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 1   contracts “                                                       ” and he worked at least as much as the

 2                       of RVU productivity,
                    50
 3                        His damages expert, Neal Beaton, confirmed that there was a minimum volume of

 4   surgeries Delashaw needed to perform in order to earn the compensation provided in the 2016

 5   PEA.51 Notably, Delashaw does not – and cannot – argue that if he failed to produce at or above

 6   the      percentile in 2015 or 2016,52 he would have been paid his above-                 percentile “salary.”

 7           The remaining claim should be dismissed because Delashaw cannot point to evidence that

 8   the Times’ reporting about SNI’s change to                                      ”53 PEAs was not

 9   substantially true and the Court need proceed no further.

10   D.      The Times Did Not Act with Fault.
11           Finally, if Delashaw’s remaining claim has not been dismissed for either of the reasons

12   above, it fails because he cannot make a prima facie case of fault, whether the standard is actual

13   malice, as is required for a limited purpose public figure like him, or negligence.

14           1.          Delashaw Cannot Point to Evidence of Actual Malice.
15           As a limited-purpose public figure, Delashaw must – but cannot – make a prima facie case

16   with evidence of convincing clarity that the Times acted with actual malice.54

17                       a.     Delashaw is a Limited Purpose Public Figure.
18           “A person may be a public figure for all purposes or for a limited purpose.”55 “Limited

19   purpose public figures are those who voluntarily inject themselves or are drawn into a public

20   controversy and thereby become public figures for a limited range of issues.”56 Whether a

21   plaintiff is either type of public figure is an issue of law for the court.57

22     50
          Id. ¶ 6 (emphasis added).
       51
23        7/8/20 Wion Decl., Ex. 9 at 44:20-45:8.
       52
          The fair market value analysis prepared for Swedish described Delashaw’s RVU productivity as “
     7/8/20 Daugherty Decl., Ex. D at SWE_005851.
24     53
          7/8/20 Daugherty Decl. ¶ 3
       54
          Duc Tan v. Le, 177 Wn.2d 649, 668 n.5, 300 P.3d 356 (2013).
25     55
          Clardy v. Cowles Pub. Co., 81 Wn. App. 53, 56, 912 P.2d 1078 (1996).
       56
          Id. at 58.
26     57
          Id. at 57.

     SEATTLE TIMES SECOND MOT. FOR SUMMARY
     JUDGMENT - 8
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 1           “A public controversy is one that touches upon serious issues relating to community

 2   values, historical events, governmental or political activity, arts, education, or public safety.”58

 3   Undisputedly, the controversy that had been simmering at SNI since Delashaw’s arrival and burst

 4   into the open in the fall of 2016 was public and touched upon the concerns of many inside and

 5   outside Swedish that Delashaw increased the risks for the hospital’s patients and staff.

 6           “An individual need not be known outside of his or her particular industry to be a limited

 7   purpose public figure.59 Five nonexclusive considerations60 confirm Delashaw is a limited

 8   purpose public figure in regard to the public controversy at Swedish caused by his leadership.

 9                             (i)     He Voluntarily Assumed a Role of Prominence in the Public
                                       Controversy.
10
             Delashaw describes himself as having “developed a national reputation for clinical
11
     excellence,”61 with a “vast referral base, which extended to the entire United States and to other
12
     countries.”62 His “referral base consisted of scores if not hundreds of physicians, clinics and
13
     hospitals who knew of and respected [his] exceptional capabilities.”63 He has “an extensive CV of
14
     publications” and has “been interviewed on 60 minutes, 20/20, and the Discovery Channel as a
15
     result of [his] experience in the treatment of stroke and aneurysms.”64 As he “became more and
16
     more experienced” he became “more and more well-known ….”65
17
             But, his vast referral base and his celebrity came with a price. “Neurosurgery is a
18
     relatively small circle” and he was problematic.66 In his years at Oregon Health & Science
19
     University (“OHSU”), he “was seen as controversial” by faculty members; both residents and
20

21
       58
22        Paterson v. Little, Brown & Co., 502 F. Supp. 2d 1124, 1140 (W.D. Wash. 2007) (quotation marks & citation
     omitted).
       59
23        Id. at 1140.
       60
          Clardy, 81 Wn. App. at 62.
       61
          7/8/20 Goldman Decl., Ex. 13.
24     62
          First Amended Complaint, Dkt #25-1 ¶ 181.
       63
          Id.
25     64
          7/8/20 Goldman Decl., Ex. 15 at JDEL_031329.
       65
          Id., Ex. 14 at 11:12-14; id., Ex. 15 at 13:9-14:6 (“he’s very well known”).
26     66
          Id., Ex. 6 at 28:2, 28:17-22.

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 1   faculty voiced concern about him.67 Then, at UCI, immediately prior to arriving at Swedish, he

 2   “cause[d] disruption” that resulted in whistleblower complaints and four internal investigations,68

 3   which he blamed on other surgeons being “envious” of him.69

 4          Neurosurgeons outside of UCI were aware of Delashaw’s conflicts with the other UCI

 5   faculty.70 As Swedish considered hiring him, Dr. Ralph Pascualy, the Swedish Senior Vice

 6   President of Care Transformation, heard from multiple neurosurgeons with concerns about

 7   Delashaw.71 Mayberg, the SNI Co-Director, heard from a doctor who had worked at the

 8   Cleveland Clinic that Delashaw had behavioral issues beginning in the late 1990s.72 Dr. Dan

 9   Kelly, a neurosurgeon in California, reached out to the Providence leadership to warn them against

10   hiring Delashaw because he “was a pathological liar, and [] he practices outside the bounds of

11   standard of care, and [] he really didn’t have leadership skills … that would allow him to work …

12   in a collegial way with other people.”73

13          Providence, Swedish’s parent company, nonetheless hired Delashaw and installed him at

14   Swedish in Seattle. According to the Swedish Chief of Staff, this had never happened before. 74

15   “Delashaw’s arrival at Swedish Cherry Hill, promotion to Chairman of Neurosurgery and Spine at

16   SNI, and management tactics at SNI caused a considerable amount of turmoil at SNI.”75 By late

17   2013, Swedish leaders requested a “behavior modification program for” him.76 In January 2014,

18   an anonymous SNI surgeon emailed the Providence and Swedish Boards:

19               The proximate cause of the current chaos is Mr. Butler’s decision to insert
                 a neurosurgeon, Dr. Delashaw, into Swedish after it was clear that after
20               due diligence on his references by Swedish and SNI physicians found him
                 unacceptable. The Swedish vetting process was thorough and included
21
      67
22       Id. at 25:13-17, 25:21-26:6.
      68
         Id., Ex. 1 at 43:3-21.
      69
23       Id., Ex. 13 at JDEL_031330.
      70
         Id., Ex. 6 at 27:16-22.
      71
         Id., Ex. 16 at 303:7-304:15.
24    72
         Id., Ex. 3 at 184:25-185:7.
      73
         Id., Ex. 17 at 25:14-26:21, 42:24-43:12 & Ex. 504 at KEL_000085.
25    74
         Id., Ex. 19 at 64:21-25.
      75
         SJ Order at 2:15-17.
26    76
         7/8/20 Goldman Decl., Ex. 15 at 19:25-20:10.

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                   informal checks with other top national neurosurgical leaders,
 1                 conversations with Providence Oregon physicians, all revealing that
                   Delashaw had questionable ethics, a DUI, two investigations undoubtedly
 2                 triggered by his volume of cases, a censure by the Society of
                   Neurosurgery for essentially lying as an expert witness, and predatory
 3                 behavior to gain referrals from other surgeons. Of course he also
                   delivered off the charts surgical volumes and accompanying millions to
 4                 the medical centers where he had worked.77
 5   In March 2014, neurosurgeon Dr. Sara Fouke complained to Delashaw that SNI faculty “are very

 6   vocally disappointed” with “various aspects of organizational behavior; I for one place a much

 7   higher priority on seeing whether we can, as a group, bridge this turmoil and become something

 8   better than the sum of the parts, or whether the division will destroy us.”78

 9           For Delashaw, SNI was “toxic with jealous surgeons and nurses reporting falsely or

10   reported events that damage[d] my reputation with false claims.”79 Dr. Frances Broyles, the

11   Medical Director of Neuroendocrinology at Swedish warned the hospital’s CEO of her “‘extreme

12   concern over the nuclear disruption of SNI by Dr. Delashaw” and alleged that he “has offended

13   virtually every doctor at SNI, has bad mouthed SNI physicians, and attempted to steal patients.’”80

14   In July 2014, there followed serious complaints against Delashaw by Mayberg.81 The following

15   month, an anonymous nurse wrote a detailed letter to Swedish executives:

16                 Over the last several months I have heard rumors and have heard
                   conversations and comments about the trouble that Providence executives
17                 caused by hiring Dr. Delashaw and forcing him on Swedish to bring
                   surgery volumes. I have personally heard Dr. Delashaw talking about
18                 “[Providence CEO] Dr. Hochman this and Dr. Hochman that” – that is
                   intimidating…. If Dr. Delashaw is backed by Dr. Hochman no wonder
19                 everyone is afraid! …. Nursing staff have seen enough of Dr. Delashaw’s
                   ingratiating behavior and his real self and understand why Swedish didn’t
20                 want him. Providence is trying to build a mega neurosurgery money-
                   machine …. Forcing a Providence employed doctor into Swedish who
21                 everyone says has a known checkered history, is a drinker with a DUI, and
                   was censored for his behavior as an expert witness is a shameful influence
22                 from Providence. My sister-in-law works at UW neuroscience and she
                   told me she heard their surgeons laughing expecting Dr. Delashaw would
23                 “wreck the place!”… It seems everyone on the West Coast knows about
24     77
          Id., Ex. 20 at SWE_005726-27.
       78
          Id., Ex. 7 at JDEL_120711.
25     79
          Id., Ex. 8.
       80
          SJ Order at 2:17-3:13 (citation omitted).
26     81
          Id. at 3:3-9.

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                   this doctor and even though he is doing the same things here nothing is
 1                 being done about it…. This situation will eventually blow up and stain
                   Swedish….82
 2
     By the end of 2014, the Director of Perioperative Services at Swedish raised serious concerns
 3
     about Delashaw to the hospital’s administration.83
 4
             By January 2015,
 5
                   SNI had received 32 Quality Variance Reports [] and 17 behavior reports
 6                 about Dr. Delashaw – a number that Swedish’s 30(b)(6) deponent testified
                   seemed “high.” At that time, the chair of the Surgery Quality Review
 7                 Committee and vice-chair of the Department of Surgery at Swedish, Dr.
                   Eric Vallieres, resigned from those positions when Swedish announced
 8                 Dr. Delashaw’s promotion to Chairman of Neurosurgery and Spine. Dr.
                   Valliere pointed to the high volume of complaints against Dr. Delashaw
 9                 and stated that he “cannot continue as the [c]hair of a [c]ommittee that is
                   to oversee the 360 degree quality of care delivery in the Swedish surgical
10                 world when my administration promotes an individual that has shown very
                   little respect for the Culture of Safety and related processes.”84
11
     Dr. Vallieres’ resignation e-mail was widely shared among the doctors at Swedish.85 His
12
     resignation in protest from the committee responsible for overseeing quality of care and patient
13
     safety resulted in “a great emotional outcry among the physicians.”86
14
             And then, “Swedish leadership” installed Delashaw as the “chair of SNI.”87 Still, “[t]he
15
     complaints and concerns continued to roll in.”88 In July 2015, the hospital’s Chief of Staff Dr.
16
     Peggy Hutchison “wrote that she had spoken with at least five physicians who were unhappy with
17
     Dr. Delashaw but were ‘scared of retaliation’ and did not know where to turn for help.”89 In
18
     August 2015, SNI co-founder Dr. David Newell reported to the hospital’s administration “that a
19
     number of his colleagues had expressed to him that Dr. Delashaw’s leadership had created ‘an
20

21

22
       82
          7/8/20 Goldman Decl., Ex. 21. The Swedish Chief of Staff, a former nursing administrator herself, “had never
     seen anything like” the concerns raised by the SNI nurses. Id., Ex. 19 at 151:23-152:6.
       83
23        SJ Order at 3:9-18.
       84
          Id. at 3:19-4:9 (citations omitted).
       85
          7/8/20 Goldman Decl., Ex. 19 at 57:17-22.
24     86
          Id. at 55:1-11; Id., Ex. 16 at 296:13-297:24.
       87
          Id., Ex. 22 ¶ 7.
25     88
          SJ Order at 4:10.
       89
          Id. at 4:10-13 (citation omitted). The Chief of Staff also was threatened by Delashaw. 7/8/20 Goldman Decl.,
26   Ex. 19 at 148:3-149:25.

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 1   atmosphere of fear and intimidation, lack of collegiality … and also quality of care issues.’”90 Dr.

 2   Ralph Pascualy, a Swedish leader, met with Providence CEO Dr. Rod Hochman and told him

 3   “that it was a very strong sense for many, many physicians that this has to be addressed

 4   immediately.”91 The Chief of Staff testified that “most of us knew there was going to be a large

 5   problem by what was happening…. [I]t was obvious that this was … going to boil up into

 6   something bigger than we had ever seen.”92 Noting his “high profile leadership position,”

 7   Swedish required Delashaw to work with coaches to address his toxic leadership style.93

 8          In 2016, the internal complaints reached outside of Swedish. Two anonymous

 9   whistleblowers filed public complaints with the DOH. The first complaint, by neurosurgeon

10   Mayberg, alleged “that there had been numerous internal complaints filed within Swedish about

11   ‘quality issues related to the neurosurgical service’ at Swedish’s Cherry Hill campus, where Dr.

12   Delashaw worked.”94 In addition, the complaint “listed 15 providers who had either left or were

13   fired from Swedish as a result of Swedish’s response to these internal complaints.”95 The second

14   complaint alleged that “Delashaw threw a phone at one nurse in the operating room and screamed

15   at another nurse and threatened her job.”96 The whistleblower warned that Delashaw’s “behavior

16   was cause for concern for the welfare of the staff and Swedish’s patients.”97 “On April 6, 2016,

17   the complaint was reviewed by a panel of four MQAC members, who determined there was

18   sufficient reason to investigate the complaint ….”98 Meanwhile, Delashaw responded by

19   complaining to the Swedish CEO that he was angry the hospital’s Chief Medical Officer had

20   written a letter to MQAC describing Delashaw as “a disruptor.”99

21
      90
22       SJ Order at 4:13-18 (citation omitted).
      91
         7/8/20 Goldman Decl., Ex. 16 at 299:10-300:6.
      92
23       Id., Ex. 19 at 92:4-20. Delashaw threatened to sue Hutchison on multiple occasions. Id. at 114:1-8.
      93
         Id., Ex. 85 SWE-E_060158; id., Ex. 23.
      94
         SJ Order at 5:3-9 (citation omitted).
24    95
         SJ Order at 5:12-14 (citation omitted).
      96
         Id. at 5:15-19 (citation omitted).
25    97
         Id. at 5:19-22 (citation omitted).
      98
         Delashaw v. Roberts, No. 2:18-cv-01850, Dkt # 1 ¶ 12.
26    99
         7/8/20 Goldman Decl., Ex. 24.

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     JUDGMENT - 13
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 1           In the fall of 2016, the situation worsened. Adrienne Oden, the Swedish Director of

 2   Perioperative Services, warned that “[s]taff are requesting monetary bonus/compensation for

 3   staying, stepping up and working under very difficult conditions…. There is a real feeling of

 4   crisis and I need additional leadership presence to communicate the situation is being

 5   communicated and heard.”100 By October, Oden herself left Swedish and the MQAC panel

 6   requested the filing of a Statement of Charges and summary action be taken against Delashaw.101

 7   But his prominence increased as he headlined the Swedish Gala that raised $6 million from the

 8   public for the hospital and celebrated with the actor Kevin Costner and the former Seahawk

 9   Ricardo Lockette.102 Dave Sabey, the real estate developer, Swedish landlord, and major

10   philanthropist noted that “Delashaw was important in many ways to the success of the evening.”103

11           On October 28, 2016, SNI’s Vice President Andy Cosentino emailed the Swedish CEO

12   and all the SNI surgeons except for Delashaw requesting an “urgent meeting” “to address … the

13   unrest within the practice…. We sense an urgency in addressing your concerns.”104 Immediately,

14   word began to spread outside of SNI regarding the meeting.105

15           Then, on October 30, 2016, a group of SNI surgeons engaged in a lengthy discussion about

16   their “desire to have [Delashaw] removed”; Dr. Rod Oskouian noted that “the Dictator experiment

17   is long over[,] time to move on.”106 Oskouian charged that Delashaw “has abused his position and

18   power to create a system of fear, intimidation and retaliation for anybody who goes against him….

19   We are the laughing stock of the city right now!!!!”107

20           The Swedish CEO reported to the CEO of Providence about “the challenge of

21   [Delashaw’s] leadership style – bullying – ‘it’s my way’ – ‘brought there to make changes’ –

22     100
           Id., Ex. 25.
       101
23         See https://www.linkedin.com/in/adrienne-oden-505b561a/ (last visited 7/7/20); Delashaw v. Roberts, No. 2:18-
     cv-01850, Dkt #39-9.
       102
           7/8/20 Goldman Decl., Ex. 26 at JDEL_030031; id., Ex. 79.
24     103
           Id., Ex. 27.
       104
           Id., Ex. 28.
25     105
           See, e.g., id., Ex. 29 at NEWELL_SDT_000110.
       106
           Id., Ex. 30 at COBBS00000292.
26     107
           Id., Ex. 31 at SWE-E_061050.

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     JUDGMENT - 14
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 1   people fearful that if they don’t go along with him, they will be targeted privately and publicly by

 2   [Delashaw] …. Lots of swirl going on … un-factual statements, hallway conversations, etc.”108

 3   SNI surgeon Dr. Ryder Gwinn further reported to a top Swedish executive:

 4                 It seems crazy to me that a group of neurosurgeons could be held hostage
                   and intimidated by anybody, but unfortunately the environment has
 5                 become so hostile and toxic here that our ability to speak up for the safety
                   of our patients, our practice, and our institute has been nearly completely
 6                 silenced. We have finally come together as a group of Neurosurgeons to
                   express our concerns in a meeting on Sunday the 30th of October, but we
 7                 are unsure if administration can help us fix the problem, as we have not
                   heard back from them.109
 8
             Finally, the long-simmering controversy surrounding Delashaw’s leadership of SNI
 9
     became apparent to some outside SNI. SNI surgeon Dr. Charles Cobbs reached out to Dr. Edward
10
     Laws, a highly regarded senior neurosurgeon in Boston, seeking advice about how to deal with the
11
     situation created by Delashaw.
12
                   As you will recall, we spoke when [Delashaw] was coming here 3 years
13                 ago … and the prediction was that there would be destruction. He has
                   methodically eviscerated as many of his colleagues’ practices here as he
14                 could while going on a hiring spree. He has managed to force all our
                   referring MD’s to send only to him, and 13 of our physicians have been
15                 booted if they tried to get in his way or investigate quality issues. I have
                   waited patiently until the time was right, and then last week I assembled
16                 our group together with the CEO of Swedish. We had a vote of no
                   confidence and [Delashaw] is meeting with the CEO now. I’m hoping
17                 they’ll make the right decision and let him go. He has created a toxic and
                   repressive culture…. Sadly he looks at humans as walking wRVUs.110
18
     Laws testified that
19
                   this was immediately recognizable as a disruptive situation. And often the
20                 disruptive situation has fallout that damages the safety of what we do,
                   which is neurosurgery which, as you can imagine, is a very stressful and –
21                 vocationally dangerous specialty. It requires cohesion, support, integrity,
                   honesty, lack of blaming people, lack of humiliating people, being open to
22                 receiving criticism and thereafter correcting it. And it seemed that that
                   sort of disruptive situation was in process at the time that [] Cobbs felt
23                 motivated to do something to change it.111
24     108
            Id., Ex. 32.
       109
            Id., Ex. 33.
25      110
            Id., Ex. 34; see https://physiciandirectory.brighamandwomens.org/details/325/edward-laws-neurosurgery-boston
     (last visited 7/7/20).
26      111
            7/8/20 Goldman Decl., Ex. 35 at 14:3-15:25.

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 1   From Boston, it looked to Laws as if the situation with Delashaw “had developed to one that was

 2   not correct, not safe, and dangerous both to patients and to other members of the neurosurgical

 3   team.”112 Two other SNI neurosurgeons Oskouian and Dr. Zach Litvack also reached out to Laws

 4   regarding the problem with Delashaw.113

 5           Others were informed. Cobbs reached out to Dr. Phil Gutin, a neurosurgeon in New York,

 6   noting: “There is a major brouhaha about to go down here at Swedish pertaining to Johnny

 7   Delashaw, and I would love to get your perspective on how to negotiate through this.”114 And to

 8   Dr. Luba Foltz at the Seattle Obstetrics & Gynecology Group:

 9                 [Delashaw] is trying to take down the Ivy Center [at SNI] (as well as
                   everyone else’s practices) and turn SNI into JDNI (JD Narcissistic
10                 Institute). I am helping to organize an overthrow of him with the other
                   surgeons but the administrators (Armada and Altaras) are complicit with
11                 [Delashaw]. So sad. Even Hochman doesn’t seem to have the guts to fire
                   him.115
12
     And to major Swedish donor                          in                   .116 Oskouian reported in to Dr.
13
     Shane Tubbs at the Seattle Science Foundation.117 Mayberg reported about the situation with
14
     Delashaw to Dr. Christopher Shaffrey at the University of Virginia School of Medicine.118
15
             On November 4, 2016, Cobbs wrote to the CEOs of Providence and Swedish about the
16
     “universal concerns” about Delashaw.
17
                   In the last two years, we have lost 62 team members from this campus.
18                 Our current functionality as a surgical institute is severely limited by
                   decreased ability to staff and support our operating rooms, provide
19                 effective and safe care in our ICU/floor, and demonstrate excellence to our
                   patients in the clinical setting. This in turn, has led to a financial downturn
20                 for the institute and system. The common thread linking these events is
                   the leadership and management style of [] Delashaw….
21

22
       112
23         Id. at 16:1-16.
       113
           Id. at 32:13-21.
       114
           Id., Ex. 36; see https://health.usnews.com/doctors/philip-gutin-16614 (last visited 7/7/20).
24     115
           7/8/20 Goldman Decl., Ex. 37; see https://seaobgyn.com/physicians/luba-foltz-md/ (last visited 7/4/20).
       116
           7/8/20 Goldman Decl., Ex. 38.
25     117
           Id., Ex. 32.
       118
           7/8/20 Wion Decl., Ex. 17 at 16:17-18:25; see https://ortho.duke.edu/latest-news/christopher-i-shaffrey-md-facs-
26   named-chief-duke-spine-division (last visited 7/7/20).

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                I know for a fact that many individuals who work at SNI also fear for their
 1              careers because of Dr. Delashaw’s relentless vindictiveness, as they have
                witnessed the forced departure of dozens of their physician, administrator,
 2              nursing and OR staff colleagues who challenged him. They feel that as a
                condition of their continued employment, they must endure this intimidating
 3              and hostile environment.119
 4           Several days later, Cobbs wrote to Dr. Pascualy, the CEO of the Swedish Medical

 5   Group: “The current environment is bringing us all down to a horrible level, where we can

 6   barely perform surgeries due to lack of staff, and due to fear of retaliation by Dr. Delashaw

 7   if we speak up about inappropriate safety issues. We are at a breaking point and we need to

 8   fix the situation immediately.”120

 9           Pascualy responded by writing directly to the CEOs of Providence and Swedish

10   and forwarding Cobbs’ e-mail.

11              I recognize that Dr. Delashaw does not report to me and that his situation has
                been handled by the top executives in the company. Tonight I learned many
12              details from Dr. Cobb[s] which completed a picture that was previously
                fragmentary. I am sending this to you …. to carry out what I feel are my
13              executive responsibilities in a situation that is threatening to Swedish’s
                reputation and the neurosurgical program…. Tonight Dr. Cobbs also let me
14              know … that … it is directly affecting patient care, employee emotional
                health, the integrity of the neurosurgery group, and the ability to retain
15              trained staff so it’s a safety issue as well.121
16   The Swedish administration responded with “a deaf ear.”122

17           And then, the controversy exploded publicly. On November 22, 2016, an anonymous

18   email from a “JBartSolo” went viral. Notwithstanding an FBI investigation initiated by a

19   complaint from Swedish,123 JBartSolo’s identity remains unknown. The email was entitled:

20   “Cherry Hill is not safe for patient care with Dr. Delashaw in a leadership role.” It went out

21   initially “to almost 200 health care providers,” with others blind copied.124

22              Please read the material and this email and then verify the information for
                yourselves …. The letter from Dr. Charles Cobbs … to Tony Armada
23
       119
           7/8/20 Goldman Decl., Ex. 39 at SWE-E_060572-73.
24     120
           Id., Ex. 40.
       121
           Id., Ex. 41.
25     122
           Id., Ex. 19 at 168:6-20.
       123
           Id., Ex. 42.
26     124
           Id., Ex. 43 at SWE-E_017976, Ex. 44 at SWE-E_059633, & Ex. 45.

     SEATTLE TIMES SECOND MOT. FOR SUMMARY
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                   detailing the ongoing unethical behavior of Dr. Delashaw has gone viral
 1                 because Dr. Delashaw’s behavior has been going on for over two years and
                   now threatens the reputation of Swedish as a whole. Many of you do not
 2                 know that Dr. Eric Vallieres … resigned in protest two years ago because Mr.
                   Armada would not pursue Dr. Delashaw’s behaviors despite having the
 3                 support from the medical staff leaders such as [Chief of Staff] Dr. Peggy
                   Hutchison. If you speak privately to top medical leaders at Swedish who are
 4                 not surgeons and are informed you will learn that they too see a crisis in
                   leadership…. We are bcc: another hundred individuals on the medical staff
 5                 as we hope they will join the conversation…. You will find [attached] three
                   documents that you should read carefully to understand what follows.
 6
                   1. The offer from Mike Butler and [Providence CEO] Dr. Rod Hochman to
 7                 Dr. Rod Oskouian guaranteeing him 13M for 0.7 FTE…. When Dr.
                   Oskouian finally began to oppose Dr. Delashaw’s leadership he was offered
 8                 protection from the very tactics that Dr. Delashaw has used on Dr. Cobbs and
                   multiple other physicians….
 9
                   2. A very readable summary of the medical literature on high-functioning
10                 psychopaths. It outlines what occurs when high-functioning psychopaths
                   gain power in corporations, political office, or medical systems. Neurologists
11                 are trained in psychiatry and we have known and said that Dr. Delashaw has
                   all the hallmarks of this personality disorder…. In the case of Dr. Delashaw
12                 it’s his single-minded intent to drive out physicians who oppose the
                   administration into turning SNI into a high profit machine without concern
13                 for the staff and the quality…. When high volume is the goal it becomes
                   necessary to suppress peer criticism about surgical judgment and patient
14                 harm. This is precisely what Dr. Cobb[s] and others have called out as Dr.
                   Delashaw’s tactic and should be an extreme signal to any caring physician….
15                 The fact that multiple physicians have called this out and the administration
                   refuses to remove Dr. Delashaw from a position of leadership is a crisis.
16
                   3. Dr. Cobbs[’] letter to Tony Armada.
17
     The email continued for four pages describing how Providence installed and protected Delashaw
18
     to achieve “unbridled RVU and volume production at the cost of staff health and patient safety.”125
19
               The JBartSolo email spread like wildfire throughout Seattle and the neurosurgery
20
     community nationally, to individuals at the Polyclinic (Seattle), Ortho Arizona (Scottsdale and
21
     Phoenix, AZ), Seattle Science Foundation, Sabey Corporation (Seattle), Hart Wagner law firm
22
     (Portland, OR), Seattle Neuroscience Institute, Houston Methodist Neurological Institute
23
     (Houston, TX), OHSU (Portland, OR), Mount Sinai School of Medicine (Manhattan, NY),
24
     NeoSpine (Seattle), Virginia Mason (Seattle), Western Neurosurgical Society (San Jose, CA), and
25
26    125
            Id., Ex. 46.

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 1   beyond.126 “Copies of the email were also printed out and placed in both Starbucks locations at

 2   the Cherry Hill campus.”127 Dr. Kelly at the Pacific Neuroscience Institute in Santa Monica, CA

 3   read the JBartSolo email and noted that there is “lots of buzz about JD-Swedish.”128 Within a day,

 4   Dr. Santosh Kesari at the John Wayne Cancer Institute in California noted “[t]he email word

 5   spread down here.”129 SNI surgeon Dr. Cameron McDougall testified that the JBartSolo email

 6   was “universally distributed.”130

 7           The crisis expanded.131 Just a few days after the JBartSolo email, SNI surgeon Backous

 8   wrote to the head of Swedish Human Resources “to express concerns about a hostile work

 9   environment created by the management of SNI by Johnny Delashaw. The issues which compel

10   me to write have an adverse impact on staff in addition to myself, and have an ultimate effect of

11   compromising patient safety.”132

12           Then, On November 28, 2016, another anonymous letter was sent to the Boards of

13   Directors of Swedish and Providence.

14               There is a broad sentiment among the Medical Staff that under Providence’s
                 leadership Swedish is in a crisis. We expect that this letter will be broadly
15               read in the Swedish Community…. To fully understand this material please
                 first read Dr. Cobbs[’] letter which has gone viral and other related materials
16               below. The many calls, conversations, and emails triggered by Dr. Cobb’s
                 [sic] letter have revealed additional problems …. The leadership crisis
17               revealed by [Providence CEO] Dr. Hochman’s ongoing handling of Dr.
                 Delashaw for over two years is part of a greater crisis at Swedish. The issues
18               with Dr. Delashaw have been devastating to our hopes of what a physician
                 CEO could and should do…. [T]he atmosphere created by Dr. Hochman and
19               [Swedish CEO] Mr. Armada at Swedish is one of intimidation and
                 suppression of views dissenting with Providence…. This has begun to spill
20               over to Swedish philanthropists with cancelled pledges ….
21               We hate resorting to anonymous communication but do so because critical
                 dissenting views are now career ending at Swedish. Please begin to
22               communicate openly and share critical information that can be verified
23    126
          See, e.g., id., Exs. 46-645; id., Ex. 80.
      127
          Id., Ex. 26 at JDEL_030031.
24    128
          Id., Ex. 64.
      129
          Id., Ex. 64.
25    130
          Id., Ex. 65 at 75:1-24.
      131
          Id., Ex. 15 at 50:2-11.
26    132
          Id., Ex. 66.

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                 externally. We desperately want honest, transparent and complete
 1               information….
 2               Respectfully,
                 Concerned Swedish Physicians133
 3
             The following day, Swedish restricted Delashaw’s privileges:
 4

 5

 6

 7

 8
                                134
 9
     This type of restriction “                                                                      .”135
10
     When Delashaw complained to his professional coach about the restriction, the coach advised: “a
11
     suspension is standard procedure in situations like this – it’s designed to reassure the public (and
12
     recipients of the anonymous letter) that the concerns raised are being treated with due
13
     consideration by administration ….”136 Indeed, the Swedish CEO told Delashaw that the
14
     hospital’s “donors [were] getting timid with all this strife.”137
15
             News of the controversy continued to spread. Delashaw reported to Swedish leadership
16
     that the Senior Society of Neurosurgery had “received [an] email that Swedish [is] in turmoil” and
17
     that Swedish had suspended his privileges.138 Neurosurgical leader Dr. Kim Burchiel of OHSU
18
     had been “informed” and had “talked to his ohsu faculty” about the Delashaw situation.139
19
     Delashaw noted that “if OHSU faculty know then other surgeons know ….”140 As he put it, the
20
     “cat is out of [the] bag” and the “reputation [of] sni and myself [is] severely tarnished.”141
21

22     133
           Id., Ex. 68 ST_0010923; id., Ex. 67.
       134
23         Id., Ex. 69.
       135
           Id., Ex. 70 at 116:12-117:16.
       136
           Id., Ex. 71.
24     137
           Id., Ex. 72 at LIT_000234.
       138
           Id., Ex. 73.
25     139
           Id.
       140
           Id.
26     141
           Id., Ex. 74 at MCD_000108-09.

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 1           In December 2016, Swedish leadership had no choice but to confront the controversy

 2   created by Delashaw. Dr. Guy Hudson informed Delashaw “blunt[ly] … about his perception to

 3   others, leadership capabilities or flaws and his contribution to [the] current situation.”142 Then,

 4   Swedish demoted Delashaw. The Swedish CEO Tony Armada wrote Delashaw:

 5               Unfortunately, we have documented repeated and numerous complaints about
                 your leadership. We worked with you through the initial transition and
 6               addressed many of the individual physicians whom you identified as barriers
                 to your success. We also spent considerable time trying to deescalate the
 7               conflict within SNI and to support you as the leader for that group. You and I
                 had numerous conversations, which included counseling about your approach
 8               to others on several occasions…. Despite this counsel and support provided,
                 we continue to hear the concerns and the concerns are growing…. Swedish
 9               will not keep you in the role as the Chair of Neurosurgery at SNI. To that
                 end, we are offering you an administrative role as the Chair Emeritus of
10               Neurosurgery at SNI…. I hope that you will continue to work with Swedish
                 and SNI. If you do not, we will need to move to end our relationship with you
11               and begin discussions on your transition from Swedish and SNI.143
12   Delashaw responded by telling developer Dave Sabey that “Tony may be a problem.”144

13           A month and a half later – after Swedish had engaged a crisis management firm and

14   “reached out to community partners such as [Group Health] and philanthropic donors, competitors

15   such as the UW, and the more than 1500 physicians who refer patients to SNI”145 – the Times

16   published the articles at issue in this lawsuit. The Swedish Chief of Staff “wasn’t surprised” by

17   what she read in the articles.146

18           Delashaw did not simply “voluntarily inject” himself or become “drawn into a public

19   controversy,”147 he was the public controversy and a limited purpose public figure for the

20   defamation lawsuit he filed against The Seattle Times.

21

22

23
       142
           Id., Ex. 75.
24     143
           Id., Ex. 76.
       144
           Id. Ex. 77.
25     145
           Id., Ex. 42.
       146
           Id., Ex. 19 at 202:7-17.
26     147
           Clardy, 81 Wn. App. at 58.

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                              (ii)     Delashaw Had Access to Channels of Effective Communication.
 1
             Despite his repeated refusal to be interviewed for the articles, the Times took the very
 2
     unusual step of publishing in full Delashaw’s written statement.148 Likewise, when he wanted
 3
     favorable coverage following the Times’ publication of the articles, he turned to his hometown
 4
     newspaper and they obliged.149 For this reason too, he is a limited purpose public figure.
 5
                              (iii)    Delashaw Sought to Influence the Outcome of the Controversy.
 6
             As described above, Delashaw was the controversy. At every turn, he fomented it and
 7
     threatened anyone who crossed him. This is the hallmark of a limited purpose public figure.
 8
                              (iv)     The Controversy Over Delashaw’s Failed Leadership at SNI
 9                                     Existed Prior to Publication of the Articles.
10           The Times’ publication of the two articles at issue in this lawsuit occurred after all of the

11   events described above. This too establishes Delashaw as a limited purpose public figure.

12                            (v)      At the Time the Articles Were Published, Delashaw Retained
                                       His Public Figure Status.
13
             The Delashaw controversy continued in full force in February 2017 when the Articles were
14
     published.150 At the time he quit, the Swedish Medical Executive Committee had an open
15
     investigation against him that involved interviewing                                         151
                                                                                                        Just then, the
16
     hospital was in the process of determining the scope of a
17
                                                 .152 But he quit, instead.
18
             In sum, Delashaw is a limited purpose public figure in regard to the public controversy he
19
     created at Swedish and about which the Times reported.
20

21     148
            7/7/20 Baker Decl. ¶¶ 12-13 & Exs. H-I; 7/8/20 Matassa Flores Decl. ¶ 2; see
22   https://www.seattletimes.com/seattle-news/times-watchdog/full-text-swedish-hospital-dr-johnny-delashaw-comment-
     on-seattle-times-investigation/ (last visited 7/7/20).
        149
23          See, e.g., https://tdn.com/news/local/doctor-patients-waiting-on-johnny-delashaw-licensing-
     decision/article_acdddaa8-e6a9-5767-9256-e8ca928a3fd1.html (last visited 7/7/20);
     https://tdn.com/news/local/months-after-getting-medical-license-back-neurosurgeon-johnny-delashaw-cant-find-a-
24
     job/article_374c2ee0-8d6c-599a-98cd-67ce41c62926.html (last visited 7/7/20).
        150
            Clardy, 81 Wn. App. at 60; id. at 65 (“These articles were published during the height of the controversy
25   surrounding this project”).
        151
            7/8/20 Goldman Decl., Ex. 19 at 174:1-9, 176:5-14.
26      152
            Id. at 177:13-179:10.

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                      b.       There is No Evidence that the Times Acted with Actual Malice.
 1
             “As a limited purpose public figure, [Delashaw]’s defamation claims require clear and
 2
     convincing proof of actual malice.”153 A statement is made with “actual malice” only when the
 3
     publisher does so “‘with knowledge of its falsity or with reckless disregard of its truth or
 4
     falsity.’”154 “‘To prove actual malice a party must establish that the speaker knew the statement
 5
     was false, or acted with a high degree of awareness of its probable falsity, or in fact entertained
 6
     serious doubts as to the statement’s truth.’”155 “‘The standard for determining “actual malice” is
 7
     subjective, focusing on the defendant’s belief in or attitude toward the truth of the statement, not
 8
     the defendant’s personal hostility toward the plaintiff.’”156 “Delashaw bears the burden of proving
 9
     actual malice by clear and convincing evidence.”157
10
             This is a burden Delashaw cannot meet. Mike Baker, the author of the statements about
11
     the Swedish RVU-based employment contracts, believed them to be true.158
12
             Summary judgment should issue on the remaining claim because Delashaw cannot point to
13
     any evidence – let alone evidence of convincing clarity – that the Times acted with actual malice.
14
             2.       Delashaw Also Cannot Point to Evidence of Negligence.
15
             Even if Delashaw were a mere “helpless private citizen”159 for purposes of his defamation
16
     claim, he cannot place into issue material facts necessary to prove the Times acted with
17
     negligence. “[S]ince erroneous statements of fact are inevitable, this … standard does not require
18
     the media to guarantee the absolute accuracy of their publications, as would be required under a
19
     strict liability scheme.”160 Delashaw can point to no evidence that the Times “knew, or, in the
20

21     153
           Paterson, 502 F. Supp. 2d at 1147; accord Clardy, 81 Wn. App. at 65.
22
       154
           SJ Order at 60 (quoting Doe v. Gonzaga Univ., 24 P.3d 390, 398 (Wash. 2001), rev’d on other grounds, 536 U.S,
     273 (2002)).
23
       155
           Id. (quoting Gonzaga Univ., 24 P.3d at 398). Mere republication of a third party’s allegation without
     investigating the veracity of the allegation “does not establish reckless disregard for the truth.” Makaeff v. Trump
     Univ., 715 F.3d 254, 270 (9th Cir. 2012).
24     156
           SJ Order at 60 (quoting Herron v. KING Broad. Co., 746 P.2d 295, 302 (Wash. 1987)).
       157
           Id. (citing Gonzaga, 24 P.3d at 398).
25     158
           7/8/20 Baker Decl. ¶ 14.
       159
           Taskett v. KING Broad. Co., 86 Wn.2d 439, 546 P.2d 81, 86 (1976).
26     160
           Id.

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 1   exercise of reasonable care, should have known that the statement” about SNI’s switch to RVU

 2   productivity-based contracts was false.161

 3           To the contrary, the Times engaged in thorough and careful reporting.162 Just a few days

 4   before the articles were published, a member of the Swedish communications office wrote that

 5               [b]y all accounts [Times reporter] Mike Baker is a thorough and courteous
                 reporter. He’s interviewed a ton of folks while reviewing data to inform him
 6               about our industry and especially certain of our neurosurgery procedures. He
                 has provided straight forward questions to Swedish …. He’s also made sure
 7               that the most senior system management has had an opportunity to respond to
                 questions…. In the course of your article if Swedish finds things where
 8               improvements can be made, they will be addressed.163
 9   Indeed, Swedish made dramatic changes as a result of the Times’ reporting.164

10           Summary judgment should issue irrespective of the standard of fault.165

11                                               III. CONCLUSION
12           Delashaw cannot make out a prima facie case that the description of the incentive contracts

13   caused him damage, that the remaining statements are not substantially true, and that the Times

14   acted with fault. For each of these independent reasons, The Seattle Times requests that his

15   lawsuit be dismissed.

16

17

18

19

20

21     161
            Id. at 85.
       162
22          7/8/20 Baker Decl. ¶¶ 2-14 & Exs. A-I.
        163
            7/8/20 Goldman Decl., Ex. 78.
        164
23          Swedish fired its CEO. Id., Ex. 19 at 197:10-21. See also https://www.seattletimes.com/seattle-news/health/at-
     swedishs-neuroscience-unit-some-staff-see-a-better-culture-ceo-vows-more-improvements/ (last visited 7/7/20);
     http://www.seattletimes.com/seattle-news/health/swedish-health-largely-bans-overlapping-surgeries/ (last visited
24
     7/7/20); https://www.seattletimes.com/seattle-news/health/swedish-ceo-its-my-job-to-restore-trust/ (last visited
     7/7/20); http://www.seattletimes.com/seattle-news/times-watchdog/swedish-ceo-resigns-in-wake-of-seattle-times-
25   investigation/ (last visited 7/7/20).
        165
            See Dunlap v. Wayne, 105 Wn.2d 529, 716 P.2d 842, 850 (1986) (affirming summary judgment for lack of
26   negligence); LaMon v. Butler, 112 Wn.2d 193, 770 P.2d 1027, 1030-31 (1989) (same).

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 1         DATED this 8th day of July, 2020.

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